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 Fill in this information to identify your case:

 Debtor 1                  Michael E. Samuels
                           First Name                       Middle Name              Last Name

 Debtor 2                  Laura G. Samuels
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Ditech                                               Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2550 Ontario St. Cincinnati, OH                   Reaffirmation Agreement.
    property              45231 Hamilton County                             Retain the property and [explain]:
    securing debt:        In name of Willis Realty LLC



    Creditor's         Ditech                                               Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        6837 Greismer Ave. Cincinnati,                    Reaffirmation Agreement.
    property              OH 45237 Hamilton County                          Retain the property and [explain]:
    securing debt:        In name of Willis Realty, LLC



    Creditor's         Equity Trust Company                                 Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        9715 Overview Ln. Cincinnati, OH                  Reaffirmation Agreement.
                          45231 Hamilton County


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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                       Case number (if known)


    property            In name of Willis Realty LLC                        Retain the property and [explain]:
    securing debt:



    Creditor's     Fannie Mae                                               Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      1326 Madeleine Cir. Cincinnati,                     Reaffirmation Agreement.
    property            OH 45231 Hamilton County                            Retain the property and [explain]:
    securing debt:      In name of Willis Realty, LLC
                        /Home Solutions LLC


    Creditor's     First Financial Bank                                     Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      1510 Kinney Ave. Cincinnati, OH                     Reaffirmation Agreement.
    property            45231 Hamilton County                               Retain the property and [explain]:
    securing debt:      In name of Willis Realty, LLC



    Creditor's     First Financial Bank                                     Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      278 Ritchie Ave. Cincinnati, OH                     Reaffirmation Agreement.
    property            45215 Hamilton County                               Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)


    Creditor's     First Financial Bank                                     Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      2524 Niagara St. Cincinnati, OH                     Reaffirmation Agreement.
    property            45251 Hamilton County                               Retain the property and [explain]:
    securing debt:      In name of Willis Realty LLC



    Creditor's     Guardian Savings Bank*                                   Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      278 Ritchie Ave. Cincinnati, OH                     Reaffirmation Agreement.
    property            45215 Hamilton County                               Retain the property and [explain]:
    securing debt:



    Creditor's     Home Equity Solutions, Ltd.                              Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      924 Gretna Ln. Cincinnati, OH                       Reaffirmation Agreement.
    property            45240 Hamilton County                               Retain the property and [explain]:
    securing debt:      In name of Willis Realty, LLC




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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                       Case number (if known)


    Creditor's     Huntington Bank                                          Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      1510 Kinney Ave. Cincinnati, OH                     Reaffirmation Agreement.
    property            45231 Hamilton County                               Retain the property and [explain]:
    securing debt:      In name of Willis Realty, LLC



    Creditor's     Mr. Cooper Mortgage                                      Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      10829 Invicta Ct. Cincinnati, OH                    Reaffirmation Agreement.
    property            45231 Hamilton County                               Retain the property and [explain]:
    securing debt:      In name of Willis Realty LLC



    Creditor's     Mr. Cooper Mortgage                                      Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      2524 Niagara St. Cincinnati, OH                     Reaffirmation Agreement.
    property            45251 Hamilton County                               Retain the property and [explain]:
    securing debt:      In name of Willis Realty LLC



    Creditor's     Nissan Motor Acceptance Bankruptcy                       Surrender the property.                            No
    name:          Dept.                                                    Retain the property and redeem it.
                                                                                                                               Yes
                                                                            Retain the property and enter into a
    Description of      2015 Nissan Sentra 35,000 miles                     Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     Ocwen*                                                   Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      9687 Cedarhurst Dr. Cincinnati,                     Reaffirmation Agreement.
    property            OH 45251 Hamilton County                            Retain the property and [explain]:
    securing debt:      In name of Willis Realty LLC



    Creditor's     Ohio Dept. of Taxation                                   Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      278 Ritchie Ave. Cincinnati, OH                     Reaffirmation Agreement.
    property            45215 Hamilton County                               Retain the property and [explain]:
    securing debt:



    Creditor's     Ohio Dept. of Taxation                                   Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      278 Ritchie Ave. Cincinnati, OH                     Reaffirmation Agreement.
                        45215 Hamilton County

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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                       Case number (if known)


    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     Ohio Dept. of Taxation                                   Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      278 Ritchie Ave. Cincinnati, OH                     Reaffirmation Agreement.
    property            45215 Hamilton County                               Retain the property and [explain]:
    securing debt:



    Creditor's     Ohio Dept. of Taxation                                   Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      278 Ritchie Ave. Cincinnati, OH                     Reaffirmation Agreement.
    property            45215 Hamilton County                               Retain the property and [explain]:
    securing debt:



    Creditor's     Ohio Dept. of Taxation                                   Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      278 Ritchie Ave. Cincinnati, OH                     Reaffirmation Agreement.
    property            45215 Hamilton County                               Retain the property and [explain]:
    securing debt:



    Creditor's     Ohio Dept. of Taxation                                   Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      278 Ritchie Ave. Cincinnati, OH                     Reaffirmation Agreement.
    property            45215 Hamilton County                               Retain the property and [explain]:
    securing debt:



    Creditor's     Select Portfolio Servicing, Inc.                         Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      8634 DeSoto Dr. Cincinnati, OH                      Reaffirmation Agreement.
    property            45231 Hamilton County                               Retain the property and [explain]:
    securing debt:      In name of Willis Realty, LLC



    Creditor's     Stock Yards Bank & Trust                                 Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      1272 Frost Ct. Cincinnati, OH                       Reaffirmation Agreement.
    property            45231 Hamilton County                               Retain the property and [explain]:
    securing debt:      In name of Willis Realty, LLC



    Creditor's     Stock Yards Bank & Trust                                 Surrender the property.                            No

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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                       Case number (if known)


     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     817 W. Kemper Rd. Cincinnati,                       Reaffirmation Agreement.
     property           OH 45240 Hamilton County                            Retain the property and [explain]:
     securing debt:     In name of Willis Realty, LLC



     Creditor's    WesBanco, Inc.                                           Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     6837 Greismer Ave. Cincinnati,                      Reaffirmation Agreement.
     property           OH 45237 Hamilton County                            Retain the property and [explain]:
     securing debt:     In name of Willis Realty, LLC

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Michael E. Samuels                                                       X /s/ Laura G. Samuels
       Michael E. Samuels                                                               Laura G. Samuels


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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                      Case number (if known)


       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        December 4, 2018                                                 Date    December 4, 2018




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